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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

VERSATA SOFTWARE, INC., et al                §
                                             §
       Plaintiffs,                           §
                                             §
v.                                           §       NO. 2:07-CV-153 (RSP)
                                             §
SAP AMERICA, INC. , AND SAP AG,              §
                                             §
      Defendants.                            §
                                             §

                     STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties hereto, acting by and through counsel, do hereby stipulate that this action,

including all claims, defenses and/or counterclaims brought, or which could have been brought, is

hereby dismissed with prejudice pursuant to a Patent License and Settlement Agreement executed

by the parties. Each party shall bear its own attorneys’ fees, expenses and costs.

                                              Respectfully submitted,

                                              /s/ Robert Christopher Bunt
                                              Robert Christopher Bunt
                                              rcbunt@pbatyler.com
                                              PARKER BUNT & AINSWORTH, PC
                                              100 E. Ferguson, Suite 1114
                                              Tyler, TX 75702
                                              Tel: (903) 531-3535
                                              Fax: (903) 533-9687

                                              Thomas M. Melsheimer
                                              Texas Bar No. 13922550
                                              melsheimer@fr.com
                                              FISH & RICHARDSON P.C.
                                              1717 Main Street, Suite 5000
                                              Dallas, TX 75201
                                              Tel: (214) 747-5070
                                              Fax: (214) 747-2091




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                                    John W. Thornburgh (CA SBN 154627)
                                    thornburgh@fr.com
                                    Justin M. Barnes (CA SBN 217517)
                                    barnes@fr.com
                                    FISH & RICHARDSON P.C.
                                    12390 El Camino Real
                                    San Diego, California 92130 Tel: (858) 678-5070
                                     Fax: (858) 678-5099

                                    James R. Batchelder (EDTX Member)
                                    James.batchelder@ropesgray.com
                                    ROPES & GRAY LLP
                                    1900 University Ave, 6th Floor
                                    East Palo Alto, CA 94303
                                    Tel: (650) 617-4000
                                    Fax: (650) 617-4090

                                    Counsel for Defendants
                                    SAP AMERICA, INC. AND SAP AG


                                    /s/ Demetrios Anaipakos (with permission)
                                    Demetrios Anaipakos
                                    Texas State Bar No. 00793258
                                    danaipakos@azalaw.com
                                    Amir Alavi
                                    Texas State Bar No. 00793239
                                    aalavi@azalaw.com
                                    Steven J. Mitby
                                    Texas State Bar No. 27037123
                                    smitby@azalaw.com
                                    AHMAD, ZAVITSANOS, ANAIPAKOS, ALAVI
                                        &MENSING, P.C.
                                    1221 McKinney St., Suite 3460
                                    Houston, Texas 77010
                                    Telephone: (713) 655-1101
                                    Telecopier: (713) 655-0062

                                    COUNSEL FOR PLAINTIFFS VERSATA
                                    SOFTWARE, INC., VERSATA DEVELOPMENT
                                    GROUP, INC., AND VERSATA COMPUTER
                                    INDUSTRY SOLUTIONS, INC.




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). Therefore, this document was served on the 3rd day of
October 2014, on all counsel who are deemed to have consented to electronic service. Local Rule
CV-5(a)(3)(A).
                                           /s/ Robert Christopher Bunt
                                           Robert Christopher Bunt




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